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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA,


                            v.                               Criminal Action No. 24-443 (BAH)

    FRANK DAHLQUIST,                                         Judge Beryl A. Howell

                            Defendant.

                                    MEMORANDUM AND ORDER

        Defendant Frank Dahlquist faces trial on January 27, 2025, on a nine-count federal

indictment, including six felony charges, Indictment, ECF No. 39, stemming from his alleged

offense conduct at the U.S. Capitol on January 6, 2021. 1 In advance of trial, defendant filed two

Motions to Change Venue, arguing that defendant could not receive a fair trial in Washington,

D.C. Def.’s Mot. to Change Venue (“Def.’s 1st Mot.”), ECF No. 47; Def.’s Mot. to Change Venue

(“Def.’s 2nd Mot.”), ECF No. 62. 2 The government opposed the first motion in its entirety. Gov’t’s

Opp’n to Def.’s Mot. to Transfer Venue (“Gov’t’s Opp’n”), ECF No. 55. For the reasons explained

below, both of defendant’s motions to transfer venue are denied.


1
         Defendant faces charges for Civil Disorder, in violation of 18 U.S.C. § 231(a)(3) (Count One); Assaulting,
Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in violation of 18 U.S.C. §§ 111(a)(1) and (b)
(Counts Two and Three); Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous
Weapon, in violation of 18 U.S.C. §§ 1752(a)(1) and (b)(1)(A) (Count Four); Disorderly and Disruptive Conduct in
a Restricted Building or Grounds, in violation of 18 U.S.C. §§ 1752(a)(2) and (b)(1)(A) (Count Five); Engaging in
Physical Violence in a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(4) (Count Six);
Disorderly Conduct in a Capitol Building, in violation of 40 U.S.C. § 5014(e)(2)(D) (Count Seven); an Act of
Physical Violence in the Capitol Grounds or Buildings, in violation of 40 U.S.C. § 5104(e)(2)(F) (Count Eight); and
Parading, Demonstrating, or Picketing in a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(G) (Count
Nine). Indictment, ECF No. 39.
2
         Defendant’s first motion was timely filed by defendant’s former counsel in accord with the court-ordered
schedule, see Min. Order Setting Schedule (Nov. 4, 2024). After defendant’s current counsel noticed his
appearance, see ECF No. 57, defendant’s second motion was filed, without leave to file an untimely motion, and
compounded this utter disregard for compliance with this Court’s orders by also failing to respond to the Order to
Show Cause, Min. Order (Dec. 26, 2024), seeking an explanation for these potentially duplicative motions. For this
reason alone, defendant’s second motion may be denied as untimely.

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I.      LEGAL STANDARD

        “The Sixth Amendment guarantees criminal defendants an ‘impartial jury of the State and

district wherein the crime shall have been committed.’” United States v. Webster, 102 F.4th 471,

479 (D.C. Cir. 2024) (quoting U.S. CONST. amend. VI). The text of the Sixth Amendment thus

provides for jury trials in the locale where the alleged crime occurred, with transfer of the

proceedings to a different venue permitted is “if extraordinary local prejudice will prevent a fair

trial—a ‘basic requirement of due process.’” Skilling v. United States, 561 U.S. 358, 378 (2010)

(quoting In re Murchison, 349 U.S. 133, 136 (1955)). To effectuate this guarantee of an impartial

jury, Federal Rule of Criminal Procedure 21 requires that a court “transfer the proceeding against

[a] defendant to another district if the court is satisfied that so great a prejudice exists in the

transferring district that the defendant cannot obtain a fair and impartial trial there.” FED. R. CRIM.

P. 21(a); see also Webster, 102 F.4th at 479 (citing Skilling, 561 U.S. at 378).

II.     DISCUSSION

        Citing “massive negative pre-trial publicity in the District of Columbia and the strong

potential for partisan bias,” defendant seeks to move his trial from the District to the Middle

District of Florida. Def.’s 2nd Mot. at 1; see also Def.’s 1st Mot. at 1 (requesting transfer to allow

defendant to be “tried by an impartial jury”). At various points in his second motion, defendant

argues that “no juror can be seated who lives in or has any interested [sic] in Washington, D.C.,”

Def.’s 2nd Mot. at 6, and that the entire jury pool in the District has been biased by its greater

consumption of news about the January 6, 2021, riots at the U.S. Capitol than in other parts of the

country, id. at 24–29. 3 Defendant additionally asserts that voir dire cannot remedy these perceived



3
         As part of this argument, defendant includes three pages of what appears to be copied-and-pasted quotes
and abstracts from articles presenting research on implicit bias. See Def.’s 2nd Mot. at 10–12.


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issues. See, e.g., id. at 22 (arguing that voir dire in “all January 6 cases” is insufficient). These

arguments, however, fall far short of demonstrating that the entire jury pool in this District,

comprised of hundreds of thousands of individuals, see Def.’s 2nd Mot. at 6–7 (estimating the jury

pool is comprised of at least 446,507 individuals); Webster 102 F.4th at 480–81 (noting that the

District “consists of more than 600,000 individuals”), is biased against defendant, or that a normal

voir dire process could not effectively screen out biased individuals from serving on the jury.

       Defendant’s arguments are largely foreclosed by binding Circuit precedent, which he

ignores. Indeed, though spilling much ink attacking caselaw precedents from the 1970s, see Def.’s

2nd Mot. at 12–18 (discussing United States v. Haldeman, 559 F.2d 31 (D.C. Cir. 1976)), he fails

even to address Webster, 102 F. 4th 471, which is binding circuit precedent decided in 2024 on the

exact issues of juror pool bias raised by defendant. While no lawyer can be perfect, this failure

cannot easily be attributed to mere oversight or gaps in legal research acumen, as the government’s

opposition to defendant’s first motion to change venue raises Webster on the very first page, with

repeated citations approximately 25 additional times. See Gov’t’s Opp’n at 1, 5, 6, 13, 14, 15, 18.

Defendant’s counsel is reminded of and cautioned to uphold his professional responsibilities as an

officer of the Court.

       A.      The Entire D.C. Jury Pool is Not Biased Against Defendant

       “Prejudice across an entire jury pool can be presumed “only [in] the extreme case.”

Webster, 102 F.4th at 479 (alteration in original) (quoting Skilling, 561 U.S. at 381). As the

Supreme Court has made clear, “juror exposure to . . . news accounts of the crime” alone is

insufficient to raise a presumptive due process concern. Skilling, 561 U.S. at 380 (omission in

original) (quoting Murphy v. Florida, 421 U.S. 794, 798–99 (1975), and citing Patton v. Yount,

467 U.S. 1025 (1984)).       “Prominence does not necessarily produce prejudice, and juror

impartiality . . . does not require ignorance.” Id. at 381 (emphasis in original) (citing Irvin v.
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Dowd, 366 U.S. 717, 722 (1961); Reynolds v. United States, 98 U.S. 145, 155–56 (1878)).

Defendant here, just as in Webster, fails to clear that “very high bar.” 102 F.4th at 479.

         First, defendant presents no evidence of “pervasive (or much of any) media coverage”

specifically about this defendant. Id. There is no evidence “that the District’s jury pool ha[s] any

preconceived notions about [defendant] or his guilt or innocence, or even kn[o]w who he [is].” Id.

Simply put, there is no evidence presented that any potential jurors have been biased against this

particular defendant, much less the entire pool of more nearly half a million District residents.

         Defendant’s motion instead focuses on the events and aftermath of January 6, 2021,

overall, arguing that “most of [the prospective jurors] . . . hav[e] already made up their minds”

about that date. Def.’s 2nd Mot. at 7. This focus on the general opinions of D.C. residents about

the events of January 6, however, “misses the point.” Webster, 102 F.4th at 480. “We expect

jurors to view significant criminal events in their hometown with an unapproving eye, whether it

is the January 6th attack on the Capitol, a murder, or an armed robbery spree.” Id. The fact that

residents of a particular jurisdiction disapprove of criminal conduct committed in that jurisdiction,

“even the specific conduct at issue in a defendant’s case[,] says nothing about a juror’s ability to

be impartial in deciding whether a particular individual committed a crime or not.” Id. 4 Instead,

“[w]hat the Constitution forbids is for a juror to hold a firmly entrenched view about an individual



4
          People living in the community directly impacted by a crime would naturally be more aware of that crime
and consume more media coverage about the crime than people living elsewhere, as the Supreme Court recognized
almost 150 years ago, see Reynolds, 98 U.S. at 155–156 (“[E]very case of public interest is almost, as a matter of
necessity, brought to the attention of all the intelligent people in the vicinity, and scarcely any one can be found
among those best fitted for jurors who has not read or heard of it, and who has not some impression or some opinion
in respect to its merits.”), and much more recently, see, e.g., Irvin, 366 U.S. at 722 (recognizing that “scarcely any of
those best qualified to serve as jurors will not have formed some impression or opinion as to the merits of the case”);
Skilling, 561 U.S. at 381 (citing Reynolds, 98 U.S. at 155–56; Irvin, 366 U.S. at 722). As these cases make clear,
voir dire is the proper process to determine whether such awareness is disqualifying for a potential juror. See, e.g.,
Reynolds, 98 U.S. at 156–57 (discussing the voir dire process and its role in screening potential jurors); Skilling, 561
U.S. at 384 (finding that “the extensive screening questionnaire and followup voir dire were well suited to”
performing “careful identification and inspection of prospective jurors’ connections” to the case, even when the
“community impact” of the alleged criminal activity in the case was “widespread”).

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defendant’s guilt or innocence before the trial starts.” Id. (emphasis in original). Defendant has

presented no evidence that even suggests the jury pool is biased against him.

        Defendant’s challenge about the partisan makeup of the jury pool in this District does not

change this analysis. “[T]he political inclinations of a populace writ large say nothing about an

individual’s ability to serve impartially in adjudicating the criminal conduct of an individual.” Id.

at 481 (citing Connors v. United States, 158 U.S. 408, 414 (1895)). As the D.C. Circuit noted,

juries in the District have long been held able to sit impartially for criminal trials in cases explicitly

invoking politics. Id. (citing United States v. Haldeman, 559 F.2d 31, 59–64 (D.C. Cir. 1976)).

        Ultimately, defendant’s motion presents no evidence to justify departing from the D.C.

Circuit’s 2024 decision in Webster, 102 F.4th 471, to find that the entire jury pool of Washington,

D.C., is too biased to serve on the jury for defendant’s trial.

        B.      Defendant’s Attacks on the Voir Dire Procedures are Entirely Speculative

        Defendant’s attacks on the voir dire process are similarly unconvincing. Without

offering any support or other corroboration, defendant claims that the voir dire process in “all

January 6 cases” in D.C. has been “shallow and unprobing.” Def.’s 2nd Mot. at 22. This is just

flatly wrong. In fact, the D.C. Circuit found the voir dire process employed in Webster, which

involved a January 6 trial, to be “an exacting search.” 102 F.4th at 482 (detailing the extensive

voir dire process used to identify and screen out potential biases). Before trial, defendant will

have the opportunity to avail himself of a similar process in order to “[i]dentify[] and eliminat[e]

potential juror partiality and prejudice.” United States v. Bochene, 579 F. Supp. 3d 177, 181

(D.D.C. 2022). At this time, before the parties and the Court have even agreed on the voir dire

questions to be asked or the process to be used, defendant’s speculative attacks on the process

are entirely without merit.



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III.   CONCLUSION AND ORDER

       For the reasons above, defendant’s motions to change venue, ECF Nos. 47, 62, are

without merit and must be denied. Accordingly, it is hereby—

       ORDERED that defendant Frank Dahlquist’s Motions to Change Venue, ECF Nos. 47,

62, are DENIED.

       Date: January 15, 2025
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                                                  BERYL A. HOWELL
                                                  United States District Judge




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